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Case 2:O4-cV-O2636-.]DB-tmp Document 23 Filed 06/30/05 Page 1 of 2 Page|D 21

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Western Division

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JOHN MCGRAIL § W/DOF tt merits
§
Plaintiff, §
§
vs. § Case No. 04cv2636-B/P
§
METROPOL|TAN LlFE iNSURANCE §
CO|V|PANY §
§
Defendant. §
§
ORDER

 

ON TH|S DATE, the Court considered the Parties‘ Joint lV|otion to En|arge the
Dead|ine for filing Responses to Nlotions for Judgrnent. For good cause shownl that
|Vlotion is GRANTED and the deadline for filing Responses to N|otions for Judgment is
enlarged from its current setting of Ju|y 1, 2005 and hereby reset to Ju|y 15, 2005.

|T lS SO ORDERED.

/

J an el Breen \
nited States District Judge
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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Honorable J. Breen
US DISTRICT COURT

